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               EMERALD CASINO, INC., Plaintiff, vs. AARON JAFFE, CHARLES GARDNER,
                    EUGENE WINKLER, and JEANNETTE TAMAYO, Defendants.

                                                Case No. 05 C 4077

                UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                                 ILLINOIS, EASTERN DIVISION

                                            2005 U.S. Dist. LEXIS 24261


                                             October 17, 2005, Decided

SUBSEQUENT HISTORY: Reconsideration denied by               JUDGES: MATTHEW F. KENNELLY, District Judge.
Casino v. Jaffe, 2005 U.S. Dist. LEXIS 27001 (N.D. Ill.,
Nov. 9, 2005)                                               OPINION BY: MATTHEW F. KENNELLY

PRIOR HISTORY: Emerald Casino, Inc. v. Ill. Gaming          OPINION
Bd., 346 Ill. App. 3d 18, 803 N.E.2d 914, 2003 Ill. App.
LEXIS 1581, 281 Ill. Dec. 293 (Ill. App. Ct. 1st Dist.,
2003)                                                       MEMORANDUM OPINION AND ORDER

                                                                MATTHEW F. KENNELLY, District Judge:
COUNSEL: [*1] For Emerald Casino Inc, an Illinois
                                                                 Emerald Casino, Inc. holds a license to operate a
corporation, Plaintiff: Robert A. Clifford, John T.
                                                            riverboat casino in Illinois. It originally operated a casino
Karnezis, Kevin P. Durkin, Michael Sean Krzak, Clifford
                                                            in East Dubuque, but ceased operations in 1997. In 1999,
Law Offices, P.C., Chicago, IL.
                                                            the Illinois legislature [*2] enacted a statute which had
For Jaffe, in his Official Capacity as Chairman of the      the effect of allowing Emerald to apply to the Illinois
Illinois Gaming Board, Defendant: Ronald Anthony            Gaming Board (which regulates casino gambling) for
Rascia, Andrew William Lambertson, Katherine Harvie         relocation and renewal of its license upon obtaining the
Laurent, Rachel Jana Fleischmann, Illinois Attorney         okay from the municipality where it wished to relocate.
General's Office, Chicago, IL.                              The statute also provided that licenses so renewed would
                                                            be for a maximum of four years.
For Charles Gardner, in his Official capacity as a
Member of the Illinois Gaming Board, Eugene Winkler,             Emerald obtained approval from the Village of
in his Official capacity as a member of the Illinois        Rosemont, and, in September 1999, it applied to the
Gaming Board, Jeanette Tamayo, in her Official capacity     Board for renewal of its license and relocation to that
as Interim Administrator of the Illinois Gaming Board,      municipality. In March 2001, the Board denied Emerald's
Defendants: Ronald Anthony Rascia, Andrew William           request and issued a disciplinary complaint seeking to
Lambertson, Katherine Harvie Laurent, Rachel Jana           revoke Emerald's license on various grounds. Emerald
Fleischmann, Illinois Attorney General's Office, Chicago,   filed suit in state court, seeking a writ of mandamus
IL.                                                         requiring the Board to approve the renewal and relocation
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application. The Board prevailed at the trial level in July          Emerald filed the present suit against the chairman,
2002, but in December 2003, the decision was reversed           two members, and the interim administrator of the Board,
on appeal, with the Illinois Appellate Court holding that       seeking to enjoin the revocation proceeding. Emerald
the 1999 statute required the Board to grant Emerald's          contends that the Board's pursuit of those proceedings
application. The court noted in its decision that the statute   violates its rights under the Equal Protection and Due
did not prevent the Board from seeking revocation of            Process Clauses of the Fourteenth Amendment as well as
Emerald's license.                                              the First Amendment. Specifically, Emerald alleges that it
                                                                has been treated differently than others similarly [*5]
     In the interim, involuntary bankruptcy proceedings         situated based on what it characterizes as "wholly
were filed against [*3] Emerald, and the case was               illegitimate animus" toward Emerald based on its
eventually converted to a Chapter 11 reorganization.            decision to relocate to Rosemont; that the Board's actions
During the pendency of the case, Emerald entered into an        have been arbitrary and motivated by ill will and bias;
agreement with the Board to stay the administrative             and that the Board has acted in retaliation for Emerald's
proceedings on the revocation complaint for a limited           decision to associate itself with Rosemont.
period. That period ended in early 2003, and the Board
announced that the revocation proceedings would                      Defendants have moved to dismiss Emerald's claims
resume. Emerald sought an injunction in the bankruptcy          on a number of grounds, but for present purposes the
court on the grounds that resumption would violate the          Court need only address one of them: defendants'
automatic stay provision of the Bankruptcy Code, but the        argument that the Court should abstain from intervening
bankruptcy judge denied the request, and the ruling was         in the ongoing Gaming Board proceedings pursuant to
affirmed on appeal by another judge of this Court.              Younger v. Harris, 401 U.S. 37, 27 L. Ed. 2d 669, 91 S.
                                                                Ct. 746 (1971). Under the Younger abstention doctrine,
     Emerald's plan of reorganization contemplated an           which is based on the principles of federalism and
auction of its license, and an entity called Isle of Capri      comity, federal courts must refrain from enjoining
was the successful bidder. The Illinois Attorney General        ongoing state judicial and quasi-judicial proceedings
raised various concerns about Rosemont and Isle of              when important state interests are involved. Abstention is
Capri. The Board entered into an agreement to stay the          required when there is an ongoing state proceeding that is
revocation proceeding for another limited period. In April      judicial in nature, implicates important state interests, and
2005, however, the Board (which in the interim had              offers a fair opportunity for review of federal
several new members appointed) announced that the               constitutional claims, absent extraordinary circumstances
proceeding would resume, before a new ALJ, Abner                that make abstention appropriate. See, e.g., Middlesex
Mikva.                                                          County Ethics Comm. v. Garden State Bar Ass'n, 457
                                                                U.S. 423, 432, 73 L. Ed. 2d 116, 102 S. Ct. 2515 (1982);
     In June 2005, the state court judge presiding over         [*6] Green v. Benden, 281 F.3d 661, 666 (7th Cir.
Emerald's mandamus action entered an order [*4]                 2002).
directing the Board to grant Emerald's application for
relocation and renewal. The Board did so, but it renewed             It is undisputed that the Gaming Board's revocation
the license for four years from September 1999, the date        proceeding involving Emerald's license is judicial in
of Emerald's application, and thus effectively granted an       nature and that it implicates an important state interest.
already-expired license. Emerald contended that this did        Emerald argues, however, that the proceeding does not
not comply with the Appellate Court's mandate, but the          afford an adequate opportunity to assert its federal
trial judge disagreed. Emerald appealed; the appeal is          claims. Specifically, Emerald contends it has been
currently pending before the Illinois Appellate Court.          stymied from offering before ALJ Mikva evidence to
                                                                support its claims that the Board has demonstrated a bias
     In the meantime, ALJ Mikva resumed the                     toward Emerald and its planned association with the
evidentiary hearing on the revocation proceeding. At the        Village of Rosemont.
time the present suit was filed, the hearing was in
progress but had not yet concluded. At present, as the              Emerald contends that ALJ Mikva has made it clear
Court understands it, the evidence has closed, and a            that he does not intend to address Emerald's
ruling is likely to be forthcoming in the near future.          constitutional claims, and that the Board cannot be
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expected to adjudicate fairly the claim it is biased.           subpoenas to all but one witness on Emerald's list that it
Judicial review of the ALJ's and the Board's                    said it wanted to call. The one exception was defendant
determinations, however, may constitute an adequate             Jaffe, the Board's chairman. Emerald indicated that it
opportunity for a litigant to raise federal constitutional      wanted to question Jaffe at the hearing to determine the
challenges. See Ohio Civil Rights Comm'n v. Dayton              reasons for his decision to resume the revocation
Christian Schools, Inc., 477 U.S. 619, 629, 91 L. Ed. 2d        proceeding. ALJ Mikva denied the request, finding that
512, 106 S. Ct. 2718 (1986); Green, 281 F.3d at 666;            Emerald had offered no evidence that would support a
Majors v. Engelbrecht, 149 F.3d 709, 713 (7th Cir.              finding of bias on Jaffe's part and that he was aware of no
1998). Illinois law permits Emerald to [*7] bring its           basis to allow the head of an administrative agency to be
constitutional challenges along with its claim for              questioned regarding the reasons for his decision. Even
administrative review. See Stykel v. City of Freeport, 318      so, the ALJ granted Emerald's request to submit an offer
Ill. App. 3d 839, 848-50, 742 N.E.2d 906, 914-15, 252 Ill.      of proof as to how Jaffe would testify. Emerald says this
Dec. 368 (2001), cited in Green, 281 F.3d at 667; Bd. of        is not an adequate alternative, [*9] but on the present
Educ. of Rich Twp. High School Dist. No. 227 v. Brown,          record the Court can make no such finding.
311 Ill. App. 3d 478, 488, 724 N.E.2d 956, 964-65, 244
Ill. Dec. 68 (2000). 1 Emerald points out that what Illinois         Under the circumstances, the Court concludes that
permits is assertion of a § 1983 claim as part of a suit in     Emerald will have an adequate opportunity to raise its
conjunction with the claim for administrative review, see       constitutional claims as part of its claim for judicial
Stykel, 318 Ill. App. 3d at 850, 742 N.E.2d at 915, and it      review of the Board's determination - assuming Emerald
argues that it should be permitted to choose a federal          ends up losing at the administrative level, which is by no
rather than a state forum to present its § 1983 claims. See     means clear. It is certainly possible that later
Emerald Resp. at 17. Green makes it clear, however, that        developments will prove the Court wrong, but if Emerald
the opportunity to assert a § 1983 claim in state court as      is foreclosed from presenting its constitutional claims in
part of an administrative review action constitutes an          state court, presumably it will then be able to refile its
adequate opportunity that requires abstention under             federal suit. 2 The hypothetical possibility that this might
Younger. Green, 281 F.3d at 667.                                take place, however, is not a basis to decline abstention.
                                                                Cf. Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15, 95 L. Ed.
       1 The reviewing trial court arguably has the             2d 1, 107 S. Ct. 1519 (1987) (if litigant has not attempted
       authority to admit, in support of the constitutional     to present federal claims in related state court
       claims, evidence that was not before the                 proceedings, federal court should assume state
       administrative agency. Cf. Stykel, 318 Ill. App. 3d      procedures afford adequate remedy absent unambiguous
       at 850, 742 N.E.2d at 915 (stating that trial court      evidence to the contrary); Green, 281 F.3d at 666 (same).
       has "original jurisdiction" over constitutional
       claims). But even if this is not the case, there is no          2 Emerald is cautioned, however, that it cannot
       question that the reviewing court may remand the                withhold or soft-pedal its claims in the state
       case to the agency for farther proceedings if the               forum and expect to assert them here later. A
       record is insufficient to permit a ruling on the                litigant cannot avoid Younger by withholding
       constitutional claims. See Bd. of Educ. of Rich                 defenses from a state proceeding and then
       Twp. High Sch. Dist. No. 227, 311 Ill. App. 3d at               pursuing federal litigation once the state case
       488, 724 N.E.2d at 965.                                         ends. See, e.g., Nelson v. Murphy, 44 F.3d 497,
                                                                       502 (7th Cir. 1995).
     [*8] ALJ Mikva has sustained objections to the
admission of some, but not all, of the evidence offered by             [*10] Emerald also contends that extraordinary
Emerald that is pertinent to its constitutional claims.         circumstances make abstention inappropriate. It argues
Emerald argues that this shows it is not getting and will       that it has made a sufficient showing of bad faith and bias
not get a fair opportunity to assert those claims in a state    on the part of the Board. An exception to Younger exists
forum. But the materials submitted to this Court reflect        when the state proceeding is conducted in bad faith or is
that where the ALJ has excluded evidence, he has                motivated by a desire to harass. See Younger, 401 U.S. at
permitted Emerald to make a record via offers of proof.         49, 54; see also, e.g., Crenshaw v. Supreme Court of Ind.,
In addition, the record reflects that ALJ Mikva issued          170 F.3d 725, 729 (7th Cir. 1999). Emerald argues that if
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a state administrative proceeding is infected by bias, the       lack of a response by the Board, the Attorney General
litigant's right of state court judicial review, even if it is   prepared to resume the revocation proceeding and
on a de novo basis, does not take the case outside this          ultimately filed suit in state court seeking a determination
exception. But conclusory assertions of bias or                  of whether the Board could drop the proceeding without
harassment are insufficient to bring the bad faith               the Attorney General's consent. Around that same time,
exception into play. See, e.g., Crenshaw, 170 F.3d at            several members of the Board resigned; they were
729; Pincham v. Judicial Inquiry Bd., 872 F.2d 1341,             replaced with new members in March 2005. Shortly
1349 (7th Cir. 1989). Rather, a party claiming that              thereafter, in April 2005, the new Board decided to
extraordinary       circumstances        make     abstention     resume the revocation proceeding. These circumstances,
inappropriate must demonstrate the existence of those            at least those disclosed in the [*13] present record, do
circumstances. Green, 281 F.3d at 667; see also,                 not support a finding of bad faith or bias on the part of
Ramsden v. AgriBank, FCB, 214 F.3d 865, 871 (7th Cir.            the Board; rather, the explanation may be as simple as the
2000). [*11]                                                     fact that the Board now has new membership.

     Emerald's claim of bias and bad faith is not                     In a status report submitted pursuant to the Court's
sufficiently supported to undercut the case for Younger          directive following oral argument on the motion to
abstention. As defendants argue, most of the matters cited       dismiss, Emerald appears to suggest that the fact that the
by Emerald in support of its bias / bad faith claim consist      ALJ permitted certain lines of questioning suggests a bias
of actions by the Board that purportedly exceeded its            in the administrative proceeding that cannot be cured by
authority understate law. In particular, Emerald contends        judicial review. Specifically, Emerald cites the fact that
that Illinois law did not authorize the Board to investigate     the ALJ has permitted questioning about purported
and institute a revocation proceeding against Emerald            association of Rosemont's mayor with various persons
after it submitted its application for renewal of its license.   allegedly involved in organized crime; contributors to the
But the Illinois Appellate Court, in its 2003 ruling that        mayor's campaign; and various other matters concerning
Emerald was entitled to renewal, made it clear that the          Rosemont and the mayor. Emerald also cites the ALJ's
statute upon which it relied did not "prevent[] the Board        admission in evidence of a short excerpt from an FBI
from moving to revoke Emerald's license. In fact, the            surveillance tape in which alleged organized crime
Board began revocation proceedings on March 6, 2001              members supposedly suggested involvement in a
.... The legislature did not intend to tinker with the           Rosemont-based casino.
Board's authority to revoke Emerald's license ...."
Emerald Casino, Inc. v. Ill. Gaming Bd., 346 Ill. App. 3d             The Court cannot conclude that the conduct of the
18, 34, 803 N.E.2d 914, 926, 281 Ill. Dec. 293 (2003).           proceedings to date gives rise to an inference of bias
Emerald also cites the Board's grant of its renewal              against Emerald or, as Emerald contends, an improper
application retroactive to 1999, which as we previously          bias against its association with the Village of Rosemont.
noted effectively made the renewed license expire upon           It would be inappropriate [*14] for the Court to make a
its grant. But a state court [*12] judge - who Emerald           determination regarding the veracity of the allegations
does not hint was in any way biased - ruled that the             about Rosemont advanced during the administrative
Board's decision complied with the mandate of the                hearing or how, if at all, those allegations bear on the
Appellate Court. Though that decision is on appeal, under        matters to be decided by the ALJ and the Board, and thus
the circumstances the Board's decision cannot be cited as        we do not do so. But we cannot say that the decision to
evidence of bias or bad faith.                                   admit evidence claimed to show an organized-crime
                                                                 connection to officials of the relatively small town where
     At oral argument on the present motion, Emerald's           a casino operated under Emerald's license would be
counsel also cited the lack of an explanation for the            located is indicative of bias or bad faith on the part of the
Board's decision to reopen the license revocation                ALJ or the Board. Moreover, as noted by Emerald in its
proceeding. We briefly review the circumstances                  status report, the ALJ also admitted evidence offered by
disclosed by the record submitted to the Court. After the        Emerald that it contends refutes the allegation of an
Board selected Isle of Capri following the                       organized-crime connection to Rosemont and its officials.
previously-described auction for the Emerald license, the        Under the circumstances, the ALJ's decisions to admit or
Illinois Attorney General raised objections. Following the       exclude certain evidence do not support the claim of bias
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or bad faith.                                             denied [# 10-1]. The Clerk is directed to enter judgment
                                                          dismissing this action. The status and ruling date of
    For these reasons, the Court concludes that Emerald   October 18, 2005 is vacated.
has failed to show extraordinary circumstances that
would make abstention inappropriate.                          Date: October 17, 2005

Conclusion                                                    /s/ Matthew F. Kennelly

    For the reasons stated above, the Court grants            MATTHEW F. KENNELLY
defendants' motion to dismiss plaintiff's claims on
Younger abstention grounds [docket # 14-1]. Plaintiff's       United States District Judge
motion [*15] for a preliminary injunction is therefore
